                                       UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN / FLINT DIVISION
In re:    Barbara F Palmer                                                             Case No. 12-33124
                                                                                       Chapter 7
                                                                                       Hon. Hon. Daniel S. Opperman
                                                                                   /

                                      STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                         PURSUANT TO F.R.BANKR.P. 2016(b)
     The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:

1.   The undersigned is the attorney for the Debtor(s) in this case.

2.   The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
           FLAT FEE
     A.    For legal services rendered in contemplation of and in connection with this case, exclusive
           of the filing fee paid                                                             $0.00
     B.    Prior to filing this statement, received                                           $0.00
     C.    The unpaid balance due and payable is                                              $0.00
           RETAINER
     A.    Amount of retainer received
     B.    The undersigned shall bill against the retainer at an hourly rate of ______________. [Or attach firm hourly rate schedule.]
           Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.
        $0.00
3. ______________ of the filing fee has been paid.

4.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     [Cross out any that do not apply.]
     A. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     B. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     C. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     D. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     E. Reaffirmations;
     F. Redemptions;
     G. Other:
5.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:


6.   The source of payments to the undersigned was from:
         A. Debtor(s)' earnings, wages, compensation for services performed
         B. Other (describe, including the identity of payor)
           Grant funding


7.   The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law
     firm or corporation, any compensation paid or to be paid except as follows:



Dated:     10/27/2017                                              /s/ Linda Rawls
                                                                   Linda Rawls                                 Bar No. P72190
                                                                   Legal Services of Eastern Michigan
Agreed: /s/ Barbara F Palmer                                       436 S. Saginaw Street
        Barbara F Palmer
                                                                   Suite 101
                                                                   Flint, MI 48502
                                                                   Phone: (810) 234-2621 / Fax: (810) 234-9039




           12-33124-dof         Doc 35       Filed 10/27/17            Entered 10/27/17 15:00:39             Page 1 of 1
